         Case 2:24-cv-07762-JMW                  Document 5         Filed 11/08/24     Page 1 of 2 PageID #: 65

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                  Eastern District of New York

                THE CITY OF NEW YORK                            )
                                                                )
                                                                )
                                                                )
                            Plaintiff(s)                        )
                                                                )
                                v.                                      Civil Action No. 2:24-cv-07762-JMW
                                                                )
    PRICEPOINT DISTRIBUTORS INC. D/B/A                          )
  PRICEPOINT NY D/B/A PRICEPOINTNY.COM,
                                                                )
 WEIS KHWAJA, HAMZA JALILI, JOHN DOES 1-5,
        JOHN DOE CORPORATIONS 1-5                               )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) PRICEPOINT DISTRIBUTORS INC. D/B/A PRICEPOINT NY D/B/A
                                       PRICEPOINTNY.COM, 500 Smith Street, Farmingdale, NY 11735.
                                       WEIS KHWAJA, 500 Smith Street, Farmingdale, NY 11735.
                                       HAMZA JALILI , 500 Smith Street, Farmingdale, NY 11735.
                                       JOHN DOES 1-5, JOHN DOE CORPORATIONS 1-5 (address unknown)




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you


-
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Eric Proshansky
                                       New York City Law Department
                                       100 Church Street, Rm. 20-99
                                       New York, NY 10007



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                           BRENNA B. MAHONEY

                                                                          CLERK OF COURT


Date:            11/8/2024
                                                                                     Sign ture of C
                                                                                     Signature    Clerk
                                                                                                    lerk or
                                                                                                    le   o Deputy Clerk
          Case 2:24-cv-07762-JMW                         Document 5       Filed 11/08/24        Page 2 of 2 PageID #: 66

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:24-cv-07762-JMW

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):




           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
